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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION
                                 www.flmb.uscourts.gov

In re:                                                          Case No. 2:24-bk-01323-FMD
                                                                Chapter 13
Miguel A Sotolongo

      Debtor.
______________________/

                  TRUSTEE’S UNFAVORABLE RECOMMENDATION
                 AND OBJECTIONS TO CONFIRMATION OF THE PLAN

TO: Clerk, United States Bankruptcy Court

         1.     The Debtor’s Petition for Relief to Chapter 13 was filed on August 31, 2024.

       2.      Trustee’s Recommendation to the Court. The Trustee cannot recommend
confirmation of the Chapter 13 Plan at this time for the following reason(s):

       3.     It does not appear that the Debtor has dedicated all disposable income to the
proposed Plan as required by 11 U.S.C. §1325(b)(1)(B).

             a. The Trustee hereby requests/has requested the following additional documents
pursuant to the District-wide Administrative Order Prescribing Procedures for Chapter 13 Cases,
to determine if the Debtor has dedicated all disposable income to the Plan:

                income tax return for 2024.

              b. Pursuant to the District-wide Administrative Order Prescribing Procedures for
Chapter 13 Cases, Debtor shall timely file all tax returns and make all tax payments and deposits
when due. (However, if Debtor is not required to file tax returns, Debtor shall provide Trustee
with a statement to that effect.) For each tax return that becomes due after the case is filed,
Debtor shall provide a complete copy of the tax return; including business returns if Debtor owns
a business, together with all related W-2’s and Form 1099’s to the Trustee within 14 days of
filing the return. Unless otherwise consented to by the Trustee or ordered by the Court, Debtor
shall turn over to the Trustee all tax refunds in addition to regular Plan payments, beginning with
the tax year 2024. Debtor shall not instruct the Internal Revenue Service or other taxing agency
to apply a refund to the following year’s tax liability. Debtor shall spend no tax refunds
without first having obtained the Trustee’s written consent or court approval.
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       4.      According to Schedules I and J, it does not appear that the Debtor has sufficient
disposable income to fund the proposed Plan as required by 11 U.S.C. §1325(a)(6). An amended
budget must be filed.

        5.      The Plan violates 11 U.S.C. §1325(a)(4) because it does not pay unsecured
creditors the value of what they would receive in a case under Chapter 7.

             a. The Trustee hereby requests/has requested the following additional documents
pursuant to the District-wide Administrative Order Prescribing Procedures for Chapter 13 Cases,
to determine if the Debtor has met the best interests of creditors test:

              income tax return for 2024.

       6.     An Amended Plan must be filed because:

            a. The Plan payments do not provide for sufficient money to fund the Plan.


                                                     /s/ Jon M. Waage
                                                     Jon M. Waage
                                                     Chapter 13 Standing Trustee
                                                     P.O. Box 25001
                                                     Bradenton, Florida 34206-5001
                                                     Phone: (941) 747-4644
                                                     Fax: (941) 750-9266


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Trustee’s Unfavorable
Recommendation and Objections to Confirmation of the Plan has been furnished electronically by
CM/ECF services and/or by U.S. Mail to Miguel A Sotolongo, Debtor, 2200 Ann Ave N, Lehigh
Acres, FL 33971, Jose A. Blanco, Esquire, Attorney for Debtor, Jose A. Blanco, PA., 102 E 49th
Street, Hialeah, FL 33013 and the U.S. Trustee, 501 East Polk Street, Suite 1200, Tampa, Florida
33602 on this 23rd day of October, 2024.



                                                     /s/ Jon M. Waage
                                                     Jon M. Waage


JMW/ds



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